                   Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 1 of 31 Page ID
                                                    #:1277



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                      17                             CENTRAL DISTRICT OF CALIFORNIA
                      18                                     SOUTHERN DIVISION
                      19
                      20 THRIVE NATURAL CARE, INC.,                         Case No. 2:21-CV-02022-DOC-KES
                      21                      Plaintiff,                    LE-VEL’S BRIEF IN OPPOSITION
                                                                            TO PLAINTIFF’S MOTION FOR
                      22                 v.                                 PRELIMINARY INJUNCTION
                      23 LE-VEL BRANDS, LLC,                                [REDACTED VERSION]
                      24                      Defendant.                    Judge: Hon. David O. Carter
                                                                            Hearing Date: April 12, 2021
                      25                                                    Time: 8:30 a.m.
                                                                            Crtrm.: 9D
                      26
                      27                        REDACTED VERSION OF DOCUMENT PROPOSED
                      28                                TO BE FILED UNDER SEAL
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                                   LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                   Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 2 of 31 Page ID
                                                    #:1278



                           1                                              TABLE OF CONTENTS
                           2
                           3 I.         INTRODUCTION AND SUMMARY OF ARGUMENT.................................. 1
                           4 II.        STATEMENT OF FACTS .................................................................................. 3
                           5       A.        Le-Vel, Its History, and the Evolution of THRIVE ........................................ 3
                           6            1.      Le-Vel’s Mission and Business Model ........................................................ 3
                           7            2.      Le-Vel’s Prior Use and Introduction of the THRIVE ................................. 3
                           8            3.      The Natural Expansion of the THRIVE Product Line ................................ 4
                           9            4.      Le-Vel’s THRIVE and THRIVE SKIN Success ......................................... 6
                      10                5.      Le-Vel’s Favorable Reputation in the Industry ........................................... 6
                      11           B.        Plaintiff’s Junior Use of THRIVE for Men’s Grooming ................................ 7
                      12 III.            ARGUMENT ..................................................................................................... 9
                      13           A.        The High Standard for Granting a Preliminary Injunction ............................. 9
                      14           B.        Plaintiff Is Not Likely to Succeed on the Merits .......................................... 10
                      15                1.      Le-Vel, Not Plaintiff, Has Prior Rights ..................................................... 11
                      16           C.        Plaintiff Cannot Show Irreparable Harm ...................................................... 13
                      17                1.      Le-Vel Overcomes Any Presumed Irreparable Harm ............................... 13
                      18                     a. Plaintiff’s Delay Belies Irreparable Harm ................................................. 15
                      19                2.      No Actual Confusion Despite Two Years of Coexistence ........................ 18
                      20                3.      Plaintiff’s Alleged Harm Is Unfounded and Speculative .......................... 19
                      21           D.        A Preliminary Injunction Will Irreparably Harm Le-Vel, Decidedly Tipping
                      22           the Balance of Hardship in Le-Vel’s Favor ........................................................... 21
                      23           E.        A Preliminary Injunction Is Not in the Public’s Interest ............................... 23
                      24           F.        Le-Vel Is Entitled to a Bond of $1,000,000 .................................................. 24
                      25           G.        The Court Lacks Personal Jurisdiction and Venue ....................................... 24
                      26 IV.                 CONCLUSION.............................................................................................. 25
                      27
                      28
Kendall Brill
& Kelly LLP
10100 Santa Moo1ca 8tvd.
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                               603288558                                        i               Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                        LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                   Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 3 of 31 Page ID
                                                    #:1279



                           1                                          TABLE OF AUTHORITIES
                           2                                                                                                                 Page(s)
                           3
                               Cases
                           4
                             AK Metals, LLC v. Norman Industrial Materials, Inc.,
                           5   No. 12-cv-2595-IEG (WVG), 2013 WL 417323 (S.D. Cal. Jan. 31,
                           6   2013) ......................................................................................................... 16, 17, 18
                       7 Apple, Inc. v. Samsung Electronics Co.,
                            877 F. Supp. 2d 838 (N.D. Cal. 2012).................................................................. 24
                       8
                       9 Brookfield Communications, Inc. v. West Coast Entertainment Corp.,
                            174 F.3d 1036 (9th Cir. 1999) .................................................................. 10, 11, 12
                      10
                         Caribbean Marine Services Co. v. Baldrige,
                      11
                            844 F.2d 668 (9th Cir. 1988) ................................................................................ 20
                      12
                         Century Time Ltd. v. Interchron Ltd.,
                      13    729 F. Supp. 366 (S.D.N.Y. 1990) ....................................................................... 17
                      14
                         Coffee Dan’s Inc. v. Coffee Don’s Charcoal Broiler,
                      15    305 F. Supp. 1210 (N.D. Cal. 1969)..................................................................... 15
                      16 Dahl v. Swith Distribution, Inc.,
                      17   No. 10-cv-00551-SJO, 2010 WL 1458957 (C.D. Cal. Apr. 1, 2010) ............ 15, 21
                      18 Department of Parks & Recreation v. Bazaar Del Mundo Inc.,
                      19   448 F.3d 1118 (9th Cir. 2006) .............................................................................. 11

                      20 Edge v. City of Everett,
                           929 F.3d 657 (9th Cir. 2019) ................................................................................ 13
                      21
                      22 Goto.com, Inc. v. Walt Disney Co.,
                           202 F. 3d 1199 (9th Cir. 2000) ............................................................................. 10
                      23
                         GUI Corp. v. Salazar,
                      24   No. 09-cv-0920-AG, 2009 WL 10672514 (C.D. Cal. Aug. 11, 2009)
                      25   (Carter, J. for Guilford, J.) .................................................................................... 22
                      26 Hendricks v. Bank of America, N.A.,
                      27   408 F.3d 1127 (9th Cir. 2005) ........................................................................ 24, 25

                      28
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& Kelly LLP
10100 Santa Moo1ca 8tvd.
'Suite 1725
                               603288558                                     ii               Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                      LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                   Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 4 of 31 Page ID
                                                    #:1280



                       1 Herb Reed Enterprises, LLC v. Florida Entertainment Management,
                             Inc.,
                       2
                             736 F.3d 1239 (9th Cir. 2013) ............................................................ 10, 14, 20, 21
                       3
                         iFreedom Direct Corp. v. McCormick,
                       4     No. 16-cv-470-JLS, 2016 WL 9049647 (C.D. Cal. June 15, 2016)..................... 20
                       5
                         Insurance Corporation of Ireland v. Compagnie des Bauxites de
                       6     Guinee,
                             456 U.S. 694 (1982) ............................................................................................. 25
                       7
                       8 International Jensen, Inc. v. Metrosound U.S.A., Inc.,
                             4 F.3d 819 (9th Cir. 1993) .................................................................................... 10
                       9
                         Isle of Capri Casinos, Inc. v. Flynt,
                      10
                             No. 2:16-cv-06148-CAS, 2016 WL 6495380 (C.D. Cal. Nov. 1,
                      11     2016) ..................................................................................................................... 19
                      12 Kerr Corp. v. N.A. Dental Wholesalers, Inc.,
                      13   No. 11-cv-0313-DOC, 2011 WL 2269991 (C.D. Cal. June 9, 2011) ...... 14, 16, 17
                      14 King v. Saddleback Junior College District,
                      15    425 F.2d 426 (9th Cir. 1970) ................................................................................ 10

                      16 Li v. Home Depot USA Inc.,
                            No. 12-cv-2151-AG, 2013 WL 12120065 (C.D. Cal. Jan. 7, 2013) .............. 16, 17
                      17
                      18 Lindeboom v. Plaster City Digital Post, LLC,
                            No. 08-cv-8077-SVW, 2009 WL 10670660 (C.D. Cal. Apr. 29,
                      19    2009) ............................................................................................................... 19, 23
                      20 Lydo Enterprises, Inc. v. City of Las Vegas,
                      21    745 F.2d 1211 (9th Cir. 1984) .............................................................................. 15
                      22 Mars, Inc. v. H.P. Mayer Corp.,
                      23   No. 88-2252, 1988 WL 86314 (D.N.J. Aug. 17, 1988)........................................ 19

                      24 McFly Inc. v. Universal City Studios, Inc.,
                           No. 85-cv-5440, 1985 WL 72058 (C.D. Cal. Oct. 9, 1985) ................................. 22
                      25
                      26 Newmark Realty Capital, Inc. v. BGC Partners, Inc.,
                           No. 16-CV-01702-BLF, 2018 WL 2573183 (N.D. Cal. Mar. 30,
                      27   2018) ..................................................................................................................... 12
                      28
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'Suite 1725
                            603288558                                     iii              Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                   LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                   Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 5 of 31 Page ID
                                                    #:1281



                       1 Oakland Tribune, Inc. v. Chronicle Publishing Co.,
                            762 F.2d 1374 (9th Cir. 1985) ........................................................................ 15, 23
                       2
                       3 Playboy Enterprises v. Netscape Communications Corp.,
                            55 F. Supp. 2d 1070 (C.D. Cal. 1999) ............................................................ 16, 17
                       4
                         Pollution Denim & Co. v. Pollution Clothing Co.,
                       5
                            547 F. Supp. 2d 1132 (C.D. Cal. 2007) .......................................................... 10, 25
                       6
                         Pom Wonderful LLC v. Hubbard,
                       7    775 F.3d 1118 (9th Cir. 2014) ................................................................................ 9
                       8
                         Pom Wonderful LLC v. Pur Beverages LLC,
                       9    No. 13-cv-06917 MMM, 2015 WL 10433693 (C.D. Cal. Aug. 6,
                            2015) ..................................................................................................................... 21
                      10
                      11 Protech Diamond Tools, Inc., v. Liao,
                            No. 08-cv-3684-SBA, 2009 WL 1626587 (N.D. Cal. June 8, 2009) ............. 15, 22
                      12
                      13 R. Joseph Licensing, Inc. v. J.L.J., Inc.,
                            No. 10-cv-1581 PSQ, 2010 WL 11595789 (C.D. Cal. Aug. 5, 2010) ........... 14, 17
                      14
                         Ruhrgas AG v. Marathon OilCo.,
                      15    526 U.S. 574 (1999) ............................................................................................. 24
                      16
                         Scat Enterprises, Inc. v. Chrysler Grp. LLC,
                      17    No. 14-cv-7995-GHK, 2014 WL 12770296 (C.D. Cal. Nov. 3,
                      18    2014) ..................................................................................................................... 23

                      19 Sengoku Works Ltd. v. RMC Internationall, Ltd.,
                            96 F.3d 1217, as modified, 97 F.3d 1460 (9th Cir. 1996) .................................... 10
                      20
                      21 Sid Berk, Inc. v. Uniroyal, Inc.,
                            425 F. Supp. 22 (C.D. Cal. 1977) ..................................................................... 9, 10
                      22
                         Sin Kwang Thé v. Rydberg,
                      23    No. 11-cv-6471-GHK, 2012 WL 13009128 (C.D. Cal. Jan. 18,
                      24    2012) ............................................................................................................... 14, 16
                      25 Suzie’s Brewery Co. v. Anheuser-Busch Cos.,
                      26    No. 3:21-CV-178-SI, 2021 WL 472915 (D. Or. Feb. 9, 2021) ............................ 14

                      27 Titaness Light Shop, LLC v. Sunlight Supply, Inc.,
                            585 F. App’x 390 (9th Cir. 2014) ..................................................................... 9, 20
                      28
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& Kelly LLP
10100 Santa Moo1ca 8tvd.
'Suite 1725
                            603288558                                     iv               Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                   LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                   Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 6 of 31 Page ID
                                                    #:1282



                       1 Versa Prods. Co. v. Bifold Co.,
                            50 F.3d 189 (3d Cir. 1995) ................................................................................... 19
                       2
                       3 Vineyard House, LLC v. Constellation Brands U.S. Operations, Inc.,
                            No. 4:19-CV-01424-YGR, 2021 WL 254448 (N.D. Cal. Jan. 26,
                       4    2021) ..................................................................................................................... 13
                       5
                         Vital Pharm., Inc. v. PhD Mktg., Inc.,
                       6    No. 2:20-cv-06745-RSWL, 2020 WL 6545995 (C.D. Cal. Nov. 6,
                            2020) ............................................................................................................... 16, 17
                       7
                       8 Winter v. National Resources Defense Council, Inc.,
                            555 U.S. 7 (2008) ................................................................................................. 10
                       9
                         Zobmondo Entertainment, LLC v. Falls Media, LLC,
                      10
                            602 F.3d 1108 (9th Cir. 2010) .............................................................................. 11
                      11
                         Statutes
                      12
                      13 15 U.S.C. § 1065........................................................................................................ 11
                      14 15 U.S.C. § 1114.................................................................................................. 10, 11
                      15 15 U.S.C. § 1116(a) ................................................................................................... 13
                      16 15 U.S.C. § 1125(a) ............................................................................................. 10, 11
                      17
                         Trademark Modernization Act of 2020 ............................................................... 13, 14
                      18
                         Other Authorities
                      19
                      20 Federal Rule of Civil Procedure 12(a)(1)(A)(i)......................................................... 25
                      21 Federal Rule of Civil Procedure 65(c) ....................................................................... 24
                      22 Federal Ruel of Evidence 301.................................................................................... 14
                      23
                      24
                      25
                      26
                      27
                      28
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                            603288558                                     v                Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                   LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 7 of 31 Page ID
                                                  #:1283



                          1                               MEMORANDUM OF POINTS AND AUTHORITIES
                      2 I.               INTRODUCTION AND SUMMARY OF ARGUMENT
                          3              This case concerns the very fact-intensive and complex analysis of two
                      4 companies' uses and rights to the trademark THRIVE. For purposes of this motion,
                          5 the operative facts and dates can be simplified as follows:
                          6
                      7         Le-Ye//Int i11trod,1,e, and
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                                                                          vJram/Jtt, l1tc/11dh1g !iJJJJ/JJIJW/11   Le-I'd/Int sold nf!UYE SKIN
                                   vlrmuutt and shttka                        p(1(c/,es.tcc~                            #i'1COf'I prodtJctl

                          8     A       rt24 2012                         September 4 , 2013                             April 2019              March 2021

                          9
                    10              September 11, 2012                       Sepb!mber 5, 2013                                                      March 5, 2021

                                    Fil;,,g dott ofPlni11fijf) Tlll/JVE        P/ai111ijf) ttllegedjlrst use of                                     Ploi111ifljlll/$ ."1olio11/or
                    11                         App//cat/0,1                        THRJVE in coum,crce                                           Preliminary/1,Junctlonogalnt1
                                                                                                                                                  l1> Ve/) THJIJVE SKJN morlt

                    12
                    13                   Le-Vel is the senior user of the trademark THRIVE, which it began using for
                    14 vitamins on August 24, 2012. Plaintiff does not challenge Le-Vel's use of THRIVE
                    15 for vitamins, nor can it, as Le-Vel' s use predates Plaintiffs alleged first use
                    16 (September 5, 2013) of THRIVE for three men's grooming products and the
                    17 "constructive" first-use date (September 11, 2012) of Plaintiffs trademark
                    18 application (the validity of which is presently before the U.S. Patent and Trademark
                    19 Office ("USPTO") Trademark Trial and Appeal Board). Le-Vel thus has superior
                    20 common law rights and prior rights over Plaintiffs constructive use.
                    21                   Le-Vel' s priority over Plaintiff is a complete bar to Plaintiffs infringement
                    22 claims against Le-Vel for its THRIVE SKIN mark for skincare products, as those
                    23 products fall within the zone of natural product expansion from Le-Vel's vitamins,
                    24 skin vitamin patches (with nutritional and skin benefits), and supplements. Having
                    25 followed the well-worn path of natural expansion into skincare products by its main
                    26 competitors (e.g., Herbalife, Amway, Shaklee) and other well-known vitamin
                    27 companies (e.g., GNC, Vitamin Shoppe), Le-Vel's customers and promoters
                    28 anticipated Le-Vel's expansion into skincare products, especially given that
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                   Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 8 of 31 Page ID
                                                    #:1284



                             1 Le-Vel’s founder previously ran two supplement companies and drove their
                             2 decisions to expand into skincare products. Among Le-Vel’s very first customers
                             3 and promoters were numerous customers and/or promoters from such founder’s
                             4 prior supplement and skincare businesses. The natural path of Le-Vel into skincare
                             5 is fully addressed by marketing expert Dr. Michael Barone.
                             6               Next, the irreparable harm allegedly caused by Le-Vel to Plaintiff cannot be
                             7 reconciled with Le-Vel’s launch of its THRIVE SKIN products with tremendous
                             8 fanfare (generating sales over
                                                                     •    million in the first 24 hours) and very open and
                             9 extensive marketing and sale of such products for nearly two years (with sales

                                          ■
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                      10 toppling             million) before Plaintiff filed this motion. Plaintiff cannot have been
                      11         blind to Le-Vel’s skincare products until October 2020, as it questionably claims.
                      12 Further, Plaintiff conspicuously fails to parse any irreparable harm caused by Le-Vel
                      13 from the ongoing irreparable harm Plaintiff allegedly suffers from its trademark
                      14 infringement claims against Thrive Causemetics (currently pending in this court
                      15 against that LA-based entity) and the many other third parties Plaintiff admits it is
                      16 attempting to “clear up.” Plaintiff’s only “support” for its alleged harm is a biased,
                      17 pairs-matching survey purporting to show actual confusion, which, as explained by
                      18 Le-Vel’s survey expert, is so utterly flawed and divorced from marketplace reality
                      19 that it deserves no weight. Finally, Plaintiff’s depiction of Le-Vel as unethical is a
                      20 cheap-shot. Le-Vel enjoys a longstanding A+ rating from the BBB (since May 25,
                      21 2016), is a respected industry leader on regulatory and legal compliance, and is
                      22 heavily invested in many worthy causes, such as the Marine Corps Toys for Tots,
                      23 the National Breast Cancer Foundation, the Hoyt Foundation, and the fight against
                      24 heartbreaking malnutrition from the world’s most desperate regions.
                      25                     For its part, Le-Vel stands to suffer staggering irreparable reputational and
                      26 monetary damages, estimated by Le-Vel’s damages expert John Plumpe to be
                      27 million. Such damages far exceed any harm Plaintiff alleges in its moving papers,
                      28 which is comprised of presumptive harm and speculative lost goodwill.
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                                       LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                   Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 9 of 31 Page ID
                                                    #:1285



                           1 II.           STATEMENT OF FACTS
                           2               A.    Le-Vel, Its History, and the Evolution of THRIVE
                           3                     1.    Le-Vel’s Mission and Business Model
                           4               Le-Vel is a health and wellness lifestyle company founded in the summer of
                           5 2012 that offers a wide array of goods, including vitamins (such as capsules,
                           6 powders, and gels), vitamin skin patches, vitamins for the skin, snacks, and skincare
                           7 products under the trademark THRIVE. (Declaration of Drew S. Hoffman, executed
                           8 March 22, 2021 (“Hoffman Decl.”) at ¶ 2.) Le-Vel formulates all of its THRIVE
                           9 products with the highest quality and premium ingredients with a single goal in
                      10 mind: provide its customers with premium products that help them live a happier
                      11 and healthier life and look and feel better. (Id. at ¶ 3.)
                      12                   Le-Vel operates as a direct sales company that sells its THRIVE products
                      13 directly to consumers through its website and promotes its products primarily
                      14 through a network of Independent Brand Promoters. (Id. at ¶ 4.) Unlike the
                      15 traditional multi-level marketing companies (into which Plaintiff attempts to lump
                      16 Le-Vel), Le-Vel’s promoters do not distribute or re-sell Le-Vel’s products, nor do
                      17 they pay to become Le-Vel promoters. (Id. at ¶ 5.) Instead, Le-Vel’s promoters
                      18 promote Le-Vel’s products by sharing their experience with potential customers.
                      19 (Id.) Le-Vel refers to this as “social sharing,” which is central to Le-Vel’s
                      20 marketing for all of its products and guides Le-Vel’s decisions on new products (i.e.,
                      21 releasing products capable of being “socially shared”). (Id.) Once introduced to
                      22 Le-Vel (by a promoter or otherwise), customers purchase products directly from
                      23 Le-Vel after creating an account with Le-Vel. (Id. at ¶ 6.) Contrary to Plaintiff’s
                      24 description of Le-Vel’s business, Le-Vel’s promoters receive commissions only if a
                      25 referred customer purchases Le-Vel’s products. (Id. at ¶ 7.)
                      26                         2.    Le-Vel’s Prior Use and Introduction of the THRIVE
                      27                   Le-Vel’s first THRIVE-branded products were introduced in commerce in
                      28 August 2012. (Id. at ¶¶ 11-13, Exs. 1-3.) Those products were two THRIVE
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                               603288558                                    3                Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                     LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 10 of 31 Page ID
                                                  #:1286



                           1 vitamin capsules, one for men and one for women, and a powdered shake branded as
                           2 THRIVE for men and women. (Id. at ¶ 11.) Since their release in August 2012,
                           3 these THRIVE vitamins and shakes have been continuously distributed and sold.
                           4 (Id. at ¶¶ 11, 14-15, Exs. 4-8.) Le-Vel’s two THRIVE products released in August
                           5 2012 had a third component that soon followed, which worked in unity with
                           6 Le-Vel’s other products. (Id. at ¶¶ 16-17.) That third product was the THRIVE
                           7 Derma Fusion Technology (“DFT”) skin vitamin patch, a revolutionary concept that
                           8 combined nutrition with a person’s skin. (Id. at ¶ 16-18, Exs. 9, 29.)
                           9               With the release of Le-Vel’s THRIVE DFT, the combination of Le-Vel’s
                      10 THRIVE capsules, shakes, and DFT patches formed Le-Vel’s THRIVE
                      11 EXPERIENCE—a suite of Le-Vel’s interconnected core products aimed at
                      12 providing customers “three easy steps” to reach their fitness goals and live a
                      13 healthier life and look and feel better. (Id. at ¶¶ 19, 21, Ex. 10.) The THRIVE
                      14 EXPERIENCE has since served as the core of Le-Vel’s THRIVE product line and
                      15 product expansions. (Id. at ¶ 20.)
                      16                        3.    The Natural Expansion of the THRIVE Product Line
                      17                   The THRIVE EXPERIENCE was well-received in the marketplace and
                      18 achieved rapid commercial success. From the time Le-Vel launched its THRIVE
                      19 products in August 2012 through September 4, 2013, Le-Vel had already sold
                      20 million of its THRIVE products nationwide. (Id. at ¶ 22.) Product success was
                      21 based on extremely high product quality, the three-step approach, and novel skin-
                                                                                                                   •
                      22 based nutrition patch. (Id.)
                      23                   Le-Vel’s customer base quickly grew based on the THRIVE EXPERIENCE.
                      24 As Le-Vel’s customer base grew, so too did its THRIVE product offerings. (Id. at
                      25 ¶ 23.) After the THRIVE EXPERIENCE product grouping, Le-Vel naturally
                      26 expanded its THRIVE product line by leveraging its THRIVE umbrella brand,
                      27 introducing more vitamins, vitamin skin patches, supplements, protein bars, healthy
                      28 snacks, and skincare products under the THRIVE brand. (Id. at ¶¶ 23-31.)
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los llng,le<. Cl\ 90067
                                     LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 11 of 31 Page ID
                                                  #:1287



                           1               Le-Vel’s and its THRIVE brand’s tie to skincare dates back to Le-Vel’s
                           2 origins. One of Le-Vel’s founders was the former president of IsXperia and
                           3 LifeCore Global, two supplement companies that, driven by Le-Vel’s founder,
                           4 naturally expanded into skincare products. (Id. at ¶ 9.) Not surprisingly, when
                           5 Le-Vel first introduced its products back in 2012, it did so to numerous former
                           6 customers and promoters of IsXperia and LifeCore Global, who were familiar with
                           7 those companies’ product offerings, including skincare products. (Id. at ¶ 10.)
                           8               Le-Vel first intended to add skincare products in the summer of 2017. (Id. at
                           9 ¶ 44.) Having previously run supplement companies that expanded into skincare
                      10 products, Le-Vel’s founder was well acquainted with such expansion and the details
                      11 of introducing skincare products in a supplement company. (Id. at ¶¶ 44, 46.) And
                      12 Le-Vel was well aware of its direct vitamin and supplement competitors that had
                      13 naturally expanded into skincare, as well as other prominent vitamin and supplement
                      14 retail brands such GNC, Vitamin Shoppe, Isagenix, Herbalife, Amway, and Shaklee.
                      15 (Id.) When it expanded, Le-Vel was already heavily invested in skin-based and
                      16 skin-related products, including its THRIVE DFT skin vitamin patches and
                      17 THRIVE Form skin vitamin. (Id. at ¶¶ 16-18, 26-27, 30, Exs. 9, 11-12, 29.)
                      18 Le-Vel’s consumers (via Le-Vel’s marketing materials) were fully aware of the
                      19 skin-related benefits of those products, with many consumers comparing the
                      20 benefits of the THRIVE SKIN products with the THRIVE DFT and THRIVE Form
                      21 products after the THRIVE SKIN launch. (Id. at ¶ 52, Ex. 26.) Consumers
                      22 similarly accepted this expansion as natural, as many of Le-Vel’s customers and
                      23 promoters predicted Le-Vel’s launch of skincare products before it was even
                      24 announced. (Id. at ¶ 51, Ex. 25.)
                      25                   As with all other new THRIVE products, Le-Vel selected the name THRIVE
                      26 SKIN to leverage its umbrella THRIVE products mark and the word “SKIN,” which
                      27 was a clever play off Le-Vel’s THRIVE DFT patches connecting “skin” to
                      28 nutritional/skin benefit “care” and the “skincare” products that the name would
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                               603288558                                    5                Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                     LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 12 of 31 Page ID
                                                 #:1288



                           1 identify. (Id. at ¶ 48.) Further still, Le-Vel intentionally tied the launch of its
                           2 THRIVE SKIN skincare to the enormous success of its THRIVE EXPERIENCE
                           3 products by introducing a three-step product grouping—THRIVE SKIN Peel
                           4 exfoliating cream (Step 1), the THRIVE SKIN Reduce facial serum (Step 2), and
                           5 the THRIVE SKIN Restore skin moisturizer (Step 3). (Id. at ¶ 49, Exs. 21-23.)
                           6 This mirroring of Le-Vel’s immensely successful three-step THRIVE
                           7 EXPERIENCE was not lost on its consumers, who recognized that very deliberate
                           8 connection. (Id. at ¶ 50, Ex. 24.)
                           9               Le-Vel’s brand leverage strategy of introducing skincare under its THRIVE
                     10 umbrella brand and using SKIN to leverage its skin-based products (e.g., Form and
                     11 DFT) conformed with expected best marketing practice, as explained in the Expert
                     12 Report of Dr. Michael J. Barone (“Barone Rprt.”). (Barone Rprt. at ¶¶ 13-32, 40.)
                     13                          4.    Le-Vel’s THRIVE and THRIVE SKIN Success
                     14                    Le-Vel’s THRIVE brand is Le-Vel’s most important asset. (Hoffman Decl. at
                     15 ¶ 24.) In fact, Le-Vel’s consumers and the public commonly know Le-Vel not as
                     16 Le-Vel, but as THRIVE. (Id. at ¶¶ 24, 48.) Given the success of its THRIVE
                     17 EXPERIENCE and THRIVE products, Le-Vel became the fastest direct sales
                     18 company to reach $1 billion in sales, when it eclipsed that milestone in 2017. (Id. at
                     19 ¶ 29.) Le-Vel surpassed $2 billion in sales of its THRIVE products in 2019, and as
                     20 of March 22, 2021, Le-Vel reached over
                                                                             •    billion in sales of its THRIVE
                     21 products. (Id. at ¶ 29.) As for THRIVE SKIN specifically, Le-Vel sold over
                                                                                                                   •
                     22 million of THRIVE SKIN products in the first 24-hours after release and over
                     23 million to date. (Id. at 53.)
                                                                                                                   ■
                     24                          5.    Le-Vel’s Favorable Reputation in the Industry
                     25                    Le-Vel is a leading charitable donor within the health and wellness industry.
                     26 Since 2015, Le-Vel has donated $1,080,000 to National Breast Cancer Foundation
                     27 (“NBCF”) (one of the largest donors to NBCF in its history); $355,000 to the Hoyt
                     28 Foundation; $280,000 to the Marine Corps Toys for Tots Foundation; $476,030 to
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                               603288558                                    6                Case No. 2:21-CV-02022-DOC-KES
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                                     LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 13 of 31 Page ID
                                                  #:1289



                           1 Americares for disaster relief; and $100,000 to National Urban League. (Id. at
                           2 ¶¶ 32-36, 40-41, 42, Exs. 14-17, 19.) Le-Vel also partnered with Convoy for Hope,
                           3 Off Their Plate, and Rise Against Hunger, donating hundreds of thousands of
                           4 THRIVEFIT, THRIVE Activate, and THRIVE Bites products to those struggling
                           5 during the COVID-19 Pandemic. (Id. at ¶¶ 38-39, Ex. 18.) With Rise Against
                           6 Hunger, Le-Vel developed a humanitarian aid product called THRIVE Nourish,
                           7 sending over 35,000 canisters to developing countries to address severe
                           8 malnutrition. (Id. at ¶¶ 37-38, Ex. 18.) Le-Vel has also launched different THRIVE
                           9 DFT skin patches over the years where proceeds are donated to worthy causes. (Id.
                      10 at ¶¶ 30-31.)
                      11                  Ignoring these realities, Plaintiff dedicates much time impugning Le-Vel as
                      12 having “quickly earned a questionable reputation regarding its products, their
                      13 effects, and the statements made by its Brand Promoters.” (Dkt. 8-1 at 5-6.) But
                      14 Plaintiff’s dubious claims that Le-Vel garnered a negative reputation in the industry
                      15 are false. First, Plaintiff claims that “numerous” adverse health events were filed
                      16 against Le-Vel with the FDA. (Dkt. 8-1 at 5.) Anybody can file such reports with
                      17 the FDA irrespective of merit. Here, one disgruntled individual filed over half of
                      18 the adverse health reports against Le-Vel. (Id. at ¶ 60.) Further, Le-Vel has not
                      19 received an adverse health event in over four and a half years. (Id.) Second,
                      20 Plaintiff points to a recent Better Business Bureau (“BBB”) case decision against
                      21 Le-Vel (Dkt 8-1 at 5-5) but omits that Le-Vel has enjoyed an A+ rating with the
                      22 BBB since May 2016. (Id. at ¶ 61.) Plaintiff’s claim that Le-Vel is non-compliant
                      23 with any regulations is also categorically false. In fact, Le-Vel’s President was
                      24 asked by a leading trade magazine to describe the steps Le-Vel takes with respect to
                      25 regulatory and legal compliance as a “how too” example for industry emulation of
                      26 Le-Vel’s commitment to such compliance. (Id. at ¶ 62.)
                      27                  B.    Plaintiff’s Junior Use of THRIVE for Men’s Grooming
                      28                  Despite being purposefully vague about when it first started using its
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                              603288558                                    7                Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                    LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 14 of 31 Page ID
                                                  #:1290



                           1 THRIVE mark (see Dkt. 1 at ¶ 18; Dkt. 8-1 at 2; Dkt. 8-2 at ¶¶ 3, 5), Plaintiff
                           2 allegedly began using its THRIVE mark in commerce on September 5, 2013 at the
                           3 earliest (see Declaration of Morgan E. Smith, executed March 22, 2021 (“Smith
                           4 Decl.”) at ¶¶ 13, Ex. 12), after Le-Vel had already made over
                                                                                                 •
                           5 of its THRIVE vitamins and skin vitamin patches (Hoffman Decl. at ¶ 53).
                                                                                                       million in sales


                           6 Plaintiff’s first use of THRIVE was for a set of three men’s grooming products (a
                           7 pre-shave face wash, a pre-shave shave oil, and a post-shave face balm) all targeted
                           8 specifically at men. (See Smith Decl. at ¶ 14, Ex. 13.) Indeed, Plaintiff launched its
                           9 THRIVE products in connection with the tagline A BETTER WAY TO GROOM
                      10 and the claim that “[w]e think guys can do better than the stuff that dominates the
                      11 market for men’s grooming.” (See id.)
                      12                  While the timeline of Plaintiff’s product evolution is murky and necessitates
                      13 discovery, one thing is clear: Plaintiff consistently positioned and marketed itself as
                      14 a men’s grooming company until after Le-Vel naturally expanded into skincare
                      15 products, including by using its BETTER WAY TO GROOM tagline in marketing
                      16 and on products through at least 2019 (see id. at ¶¶ 14-15, Ex. 13-14), commonly
                      17 using hashtags like #men, #mensgrooming, and other similar men-related hashtags
                      18 in its social media through at least September 26, 2019, and more general grooming
                      19 hashtags like #groomingproducts through June 12, 2020 (only after which Plaintiff
                      20 transitioned to hashtags related to regenerative skincare) (see id. at ¶¶ 17-18, Exs.
                      21 16-17), and promoting its products as providing “a morning routine for the smoothest
                      22 shave” at least through December 2, 2018 (see id. at ¶ 16, Ex. 15). While Plaintiff
                      23 has now re-positioned its business from a men’s grooming company targeting men
                      24 to a skincare company targeting men and women akin to Le-Vel (again, the date of
                      25 this transition is unknown and requires discovery), such transition was not natural or
                      26 anticipated given the difficulty of transitioning from a men’s to a gender-neutral
                      27 focus, as explained by marketing expert Dr. Barone. (Barone Rprt. at ¶¶ 33-39, 41.)
                      28                  Plaintiff also filed a trademark application for the mark THRIVE on
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                              603288558                                    8                Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                    LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 15 of 31 Page ID
                                                  #:1291



                           1 September 11, 2012, covering “Non-medicated skin care preparations, namely,
                           2 facial lotions, cleansers and creams, creams and oils for cosmetic use, skin
                           3 moisturizers; pre-shaving preparations; after shave lotions and creams” in Class 3.
                           4 (Smith Decl. at ¶ 19, Ex. 18.) Plaintiff alleges a September 5, 2013, date of first use
                           5 in commerce in that application. (Id. at ¶ 13, Ex. 12.) That application matured to
                           6 Registration No. 4467942 on January 14, 2014 (id.), conferring Plaintiff with a
                           7 September 11, 2012, constructive first use date, which Le-Vel also precedes with its
                           8 use of THRIVE beginning in August 2012 (Hoffman Decl. at ¶¶ 11-13, Exs. 1-3).
                           9 Le-Vel has challenged the validity of that application, having petitioned to cancel
                      10 the resulting registration as void ab initio and for fraud on the USPTO, including
                      11 because all publicly available material points to a first use date much later than
                      12 September 2013 (another point that must be examined through discovery) and
                      13 because Plaintiff was not using THRIVE for general skincare products, as included
                      14 in Plaintiff’s identification of goods when Plaintiff signed its declaration of use.
                      15 (Smith Decl. at ¶ 20, Ex. 19.) A copy of Le-Vel’s Petition to Cancel is attached to
                      16 the Smith Declaration as Exhibit 19. With the validity of Plaintiff’s registration at
                      17 stake, so too are any constructive first use rights it affords.
                      18 III.             ARGUMENT
                      19                  A.    The High Standard for Granting a Preliminary Injunction
                      20                  “A preliminary injunction is an extraordinary and drastic remedy to be
                      21 granted as an exception rather than as a rule.” Sid Berk, Inc. v. Uniroyal, Inc., 425
                      22 F. Supp. 22, 28-29 (C.D. Cal. 1977) (“It is the discretionary exercise by the court of
                      23 a very far-reaching power, ‘never to be indulged except in a case clearly demanding
                      24 it.’”) (quotation omitted). See also Pom Wonderful LLC v. Hubbard, 775 F.3d 1118,
                      25 1124 (9th Cir. 2014) (“‘A preliminary injunction is an extraordinary and drastic
                      26 remedy . . . .’” (quotation omitted). This drastic remedy “‘may only be awarded
                      27 upon a clear showing that the plaintiff is entitled to such relief.’” Titaness Light
                      28 Shop, LLC v. Sunlight Supply, Inc., 585 F. App’x 390, 391 (9th Cir. 2014)
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                              603288558                                    9                Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                    LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 16 of 31 Page ID
                                                  #:1292



                           1 (unpublished) (emphasis added) (quoting Winter v. Nat. Res. Def. Council, Inc., 555
                           2 U.S. 7, 22 (2008)). “[T]he function of a preliminary injunction [is] to preserve the
                           3 status quo pending a determination of the action on the merits.” King v. Saddleback
                           4 Junior Coll. Dist., 425 F.2d 426, 427 (9th Cir. 1970) (citation omitted); Sid Berk,
                           5 425 F. Supp. at 29.
                           6               “To obtain a preliminary injunction, [Plaintiff] ‘must establish that [it] is
                           7 likely to succeed on the merits, that [it] is likely to suffer irreparable harm in the
                           8 absence of preliminary relief, that the balance of equities tips in [its] favor, and that
                           9 an injunction is in the public interest.’” Herb Reed Enters., LLC v. Fla. Ent. Mgmt.,
                      10 Inc., 736 F.3d 1239, 1247 (9th Cir. 2013) (quotation omitted).1 Given the drastic
                      11 nature of the remedy, “[t]he existence of any debate or doubts on the record as to the
                      12 merits of the claim or the power of the court to act will ordinarily bar the granting of
                      13 a preliminary injunction.” Sid Berk, 425 F. Supp. at 29 (citations omitted). In other
                      14 words, “[t]o doubt is to deny.” Pollution Denim & Co. v. Pollution Clothing Co.,
                      15 547 F. Supp. 2d 1132, 1143 (C.D. Cal. 2007) (citations omitted).
                      16                   B.    Plaintiff Is Not Likely to Succeed on the Merits
                      17                   To prevail on its trademark infringement claims (15 U.S.C. §§ 1114 and
                      18 1125(a)), Plaintiff must demonstrate (1) ownership of a valid, protectable trademark;
                      19 and (2) a likelihood of confusion. Brookfield Commc’ns, Inc. v. W. Coast Ent.
                      20 Corp., 174 F.3d 1036, 1046 (9th Cir. 1999). “[I]t is axiomatic in trademark law that
                      21 the standard test of ownership is priority of use.” Sengoku Works Ltd. v. RMC Int’l,
                      22 Ltd., 96 F.3d 1217, 1219, as modified, 97 F.3d 1460 (9th Cir. 1996) (emphasis
                      23
                               1
                      24         Plaintiff cites to a different standard from the case Goto.com, Inc. v. Walt Disney
                               Co., 202 F. 3d 1199, 1204-05 (9th Cir. 2000). (See Dkt. 8-1 at 7.) It is doubtful this
                      25       standard still applies after the Supreme Court’s decision in Winter. Even if the
                      26       standard from GoTo applies, that should not affect the outcome because it is “‘not
                               [a] separate test[] but the outer reaches of a single continuum.’ Essentially the trial
                      27       court must balance the equities in the exercise of its discretion.” Int’l Jensen, Inc. v.
                      28       Metrosound U.S.A., Inc., 4 F.3d 819, 822 (9th Cir. 1993) (citation omitted).
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                               603288558                                    10               Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                     LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 17 of 31 Page ID
                                                  #:1293



                           1 added). Plaintiff has not and cannot make this showing. At the very least, discovery
                           2 is required before making this highly factual and potentially case-dispositive
                           3 determination at such an early stage.
                           4                     1.     Le-Vel, Not Plaintiff, Has Prior Rights
                           5               The absolute earliest date on which Plaintiff could rely on to establish priority
                           6 for its claim under 15 U.S.C. § 1114 is September 11, 20122—the filing date of the
                           7 “intent-to-use” trademark application that issued as Reg. No. 4467942. (See Smith
                           8 Decl., ¶ 13, 19, Ex. 12, 18.) Zobmondo Ent., LLC v. Falls Media, LLC, 602 F.3d
                           9 1108, 1111 n.3 (9th Cir. 2010) (plaintiff may establish priority through constructive
                      10 use back to the intent-to-use application’s filing date). But that date “has no effect
                      11 on the registrant’s rights under the common law, which requires a mark to have been
                      12 used in commerce before a [protectable] ownership interest in the mark arises.”
                      13 Dep’t of Parks & Recreation v. Bazaar Del Mundo Inc., 448 F.3d 1118, 1124 (9th
                      14 Cir. 2006). Thus, Plaintiff’s priority date for purposes of its common-law trademark
                      15 infringement claim (15 U.S.C. § 1125(a)) is September 5, 20133 at the earliest.
                      16                   Whatever date is used and regardless of whether Plaintiff can establish a
                      17 likelihood of confusion between the parties’ marks, Le-Vel has priority. (See
                      18 timeline attached as Ex. 1 to the Smith Decl.) Le-Vel’s priority of rights based on
                      19 its use of THRIVE for vitamins since August 2012 is a complete defense to all of
                      20 Plaintiff’s claims.4 Brookfield, 174 F.3d at 1047 (senior user has the right to enjoin
                      21 junior users from using confusingly similar marks within the senior user’s natural
                      22
                               2
                      23  This date assumes that Plaintiff’s registration is valid and remains in force. Le-Vel
                         has challenged the validity of such registration before the USPTO Trademark Trial
                      24 and Appeal Board, seeking cancellation. (See Smith Decl., ¶ 20, Ex. 19.)
                      25       3
                          This date is suspect, given that Plaintiff has publicly stated it did not come to
                      26 market until 2014. (Smith Decl., ¶ 20, Ex. 19.)
                      27       4
                          The fact that Plaintiff’s registration is incontestable is not a bar to Le-Vel’s defense
                      28 of priority. 15 U.S.C. § 1065.
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                               603288558                                    11               Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                     LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 18 of 31 Page ID
                                                  #:1294



                           1 zone of expansion). The zone of natural expansion doctrine means that the senior
                           2 user of a mark “has rights not only for the [products] it actually provides but also for
                           3 those into which it might reasonably expand in the future.” Newmark Realty Cap.,
                           4 Inc. v. BGC Partners, Inc., No. 16-CV-01702-BLF, 2018 WL 2573183, at *16
                           5 (N.D. Cal. Mar. 30, 2018) (emphasis added). “When a senior user of a mark on
                           6 product line A expands later into product line B and finds an intervening user,
                           7 priority in product line B is determined by whether the expansion is ‘natural’ in that
                           8 customers would have been confused as to source or affiliation at the time of the
                           9 intervening user’s appearance.” Brookfield, 174 F.3d at 1051 (9th Cir.
                      10 1999) (citation omitted).
                      11                  Such is the case here, as Le-Vel (the senior user) has been using THRIVE for
                      12 vitamins since at least August 2012 and skincare products squarely fall within its
                      13 zone of natural expansion. That expansion was evident from the very start, as
                      14 Le-Vel’s founder previously ran supplement companies that he expanded into
                      15 skincare products, and numerous of Le-Vel’s first customers and promoters were
                      16 acquainted with its founder’s past involvement in supplement companies that
                      17 expanded into skincare. (Hoffman Decl. at ¶ 9-10, 46.) Further, many direct
                      18 supplement competitors and leading supplement brands have long occupied the
                      19 skincare space. (Id. at ¶ 44; Smith Decl., ¶¶ 3-12, Exs. 2-11; Barone Report at ¶ 32.)
                      20 Next, Le-Vel’s THRIVE umbrella brand was naturally positioned to expand to
                      21 skincare, especially given its highly successful skin vitamin patches combining
                      22 nutrition with a person’s skin—an overlap many consumers recognized after
                      23 THRIVE SKIN launched. (Hoffman Decl. at ¶ 50, Ex. 24.) Not surprisingly,
                      24 Le-Vel’s customers and promoters anticipated Le-Vel’s skincare launch before it
                      25 was announced, establishing that consumers expected this natural transition. (Id. at
                      26 ¶ 51, Ex 25.) And based on a comprehensive analysis of the relevant marketplace
                      27 and Le-Vel’s brand, products, and customers, marketing expert Dr. Barone
                      28 concluded that Le-Vel’s expansion into skincare was, indeed, a natural and
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                              603288558                                    12               Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                    LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 19 of 31 Page ID
                                                  #:1295



                           1 anticipated transition. (Barone Rprt. at ¶¶ 13-32, 40.)
                           2               Without priority, Plaintiff cannot show that it is likely to succeed on the merits
                           3 of its trademark infringement claims. At a minimum, Le-Vel’s natural product
                           4 expansion from supplements to skincare raises material questions over whether
                           5 Plaintiff is likely to succeed on the merits, especially given questions surrounding
                           6 Plaintiff’s migration from niche men’s grooming products into unisex skincare that
                           7 Plaintiff conspicuously omits to mention in its moving papers. (Id. at ¶¶ 33-39, 41.)
                           8 Plaintiff’s failure to show this factor alone warrants denial of its motion. Edge v. City
                           9 of Everett, 929 F.3d 657, 663 (9th Cir. 2019) (“Likelihood of success on the merits
                      10 is the most important factor; if a movant fails to meet this threshold inquiry, we need
                      11 not consider the other factors.”) (citation omitted).
                      12                   C.    Plaintiff Cannot Show Irreparable Harm
                      13                         1.     Le-Vel Overcomes Any Presumed Irreparable Harm
                      14                   Plaintiff asserts that it is entitled to a presumption of irreparable harm upon a
                      15 finding of likelihood of success on the merits based on the recently passed
                      16 Trademark Modernization Act of 2020 (the “TMA”). (Dkt. 8-1 at 9.) But it is less
                      17 than clear whether the particular amendment applicable here (15 U.S.C. § 1116(a))
                      18 went into effect on December 27, 2020, or goes into effect on December 27, 2021.
                      19 (See, e.g., Smith Decl., ¶ 21, Ex. 20 (“Some parts of the TMA, such as the
                      20 provisions for ex parte reexamination, become effective a year from signing, on
                      21 December 27, 2021. Other provisions, such as the statutory amendment concerning
                      22 the presumption of irreparable harm . . . do not specify an effective date and may be
                      23 left to the courts to decide.”).) No courts in this District have weighed in on this
                      24 issue. In fact, only two courts have even discussed the issue since the TMA was
                      25 passed. In one case, the Northern District of California mentioned in a footnote that
                      26 the TMA “only reinforce[d] the appropriateness of a permanent injunction” after a
                      27 full trial on the merits. Vineyard House, LLC v. Constellation Brands U.S.
                      28 Operations, Inc., No. 4:19-CV-01424-YGR, 2021 WL 254448, at *14 n.16 (N.D.
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                               603288558                                    13               Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                     LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 20 of 31 Page ID
                                                  #:1296



                           1 Cal. Jan. 26, 2021). In the other case, the District of Oregon applied the
                           2 presumption (which the defendant could not overcome) to preliminarily enjoin
                           3 Anheuser Busch from advertising that its hard seltzer was the “first” or “only”
                           4 USDA organic seltzer when another company had in fact obtained USDA organic
                           5 certification first. Suzie’s Brewery Co. v. Anheuser-Busch Cos., No. 3:21-CV-178-
                           6 SI, 2021 WL 472915, at *1 (D. Or. Feb. 9, 2021).
                           7               Given that the TMA may not be the operative law for another nine months,
                           8 prudence counsels for applying current Ninth Circuit standards requiring irreparable
                           9 harm to be established for purposes of this motion for drastic interim relief. In the
                      10 Ninth Circuit, “[g]one are the days when ‘[o]nce the plaintiff in an infringement
                      11 action has established a likelihood of confusion, it is ordinarily presumed that the
                      12 plaintiff will suffer irreparable harm if injunction relied does not issue.’” Herb
                      13 Reed, 736 F.3d at 1250 (citations omitted). Rather, “[t]hose seeking injunctive relief
                      14 must proffer evidence sufficient to establish a likelihood of irreparable harm.” Id. at
                      15 1251. See also Kerr Corp. v. N.A. Dental Wholesalers, Inc., No. 11-cv-0313-DOC
                      16 (CWx), 2011 WL 2269991, at *2 (C.D. Cal. June 9, 2011) (the plaintiff “cannot
                      17 evade its burden to demonstrate a likelihood of irreparable injury even if it
                      18 established a likelihood of success on the merits”); Sin Kwang Thé v. Rydberg, No.
                      19 11-cv-6471-GHK (JCGx), 2012 WL 13009128, at *2 (C.D. Cal. Jan. 18, 2012)
                      20 (“[I]rreparable harm can no longer be presumed in copyright or trademark
                      21 infringement cases.”) (citations omitted).
                      22                   Even assuming arguendo that Plaintiff is entitled to a presumption of
                      23 irreparable harm (it is not), Le-Vel can rebut that presumption, see Fed. R. Evid.
                      24 301, including by showing that Plaintiff long-delayed in seeking a preliminary
                      25 injunction. See R. Joseph Licensing, Inc. v. J.L.J., Inc., No. 10-cv-1581 PSQ
                      26 (CWx), 2010 WL 11595789, at *2 (C.D. Cal. Aug. 5, 2010) (“Even where that
                      27 presumption applies, however, a defendant may rebut it by demonstrating that the
                      28 plaintiff unduly delayed in bringing its motion for a preliminary injunction.”);
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                               603288558                                    14               Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                     LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 21 of 31 Page ID
                                                  #:1297



                           1 Protech Diamond Tools, Inc., v. Liao, No. 08-cv-3684-SBA, 2009 WL 1626587, at
                           2 *6 (N.D. Cal. June 8, 2009) (“Plaintiff’s undue delay in filing its preliminary
                           3 injunction motion rebuts its assertion of irreparable injury.”).
                           4               As detailed below, Plaintiff fails to offer and cannot offer sufficient evidence
                           5 to establish a likelihood of irreparable harm, and Plaintiff’s motion must be denied.
                           6 And even if irreparable harm is presumed, Plaintiff’s near two-year delay in seeking
                           7 a preliminary injunction from the time Le-Vel first introduced its THRIVE SKIN
                           8 products rebuts the presumption and warrants denial of Plaintiff’s motion.
                           9                            a.     Plaintiff’s Delay Belies Irreparable Harm
                      10                   “Irreparable injury has been defined as that injury which is certain and great.”
                      11 Coffee Dan’s Inc. v. Coffee Don’s Charcoal Broiler, 305 F. Supp. 1210, 1216 (N.D.
                      12 Cal. 1969) (citation omitted). Plaintiff’s delay of nearly two years in seeking a
                      13 preliminary injunction undercuts any claim that Plaintiff will suffer irreparable
                      14 harm. “A preliminary injunction is sought upon the theory that there is an urgent
                      15 need for speedy action to protect the plaintiff’s rights. By sleeping on its rights a
                      16 plaintiff demonstrates the lack of need for speedy action . . . .” Lydo Enters., Inc. v.
                      17 City of Las Vegas, 745 F.2d 1211, 1213-14 (9th Cir. 1984) (citations omitted). In
                      18 other words, an “unexplained delay in seeking ‘emergency’ injunctive relief
                      19 undercuts a claim that an injunction is necessary to prevent immediate and
                      20 irreparable injury.” Dahl v. Swith Distrib., Inc., No. 10-cv-00551-SJO (RZx), 2010
                      21 WL 1458957, at *3 (C.D. Cal. Apr. 1, 2010) (citation omitted). Indeed, “delay
                      22 alone [may be] sufficient to undermine [a] [p]laintiff’s claim of immediate,
                      23 irreparable harm.” Protech Diamond Tools, 2009 WL 1626587, at *6. See also
                      24 Oakland Tribune, Inc. v. Chronicle Publ’g Co., 762 F.2d 1374, 1377 (9th Cir. 1985)
                      25 (affirming denial of preliminary injunction based on delay alone, without assessing
                      26 the likelihood of success on the merits).
                      27                   For example, courts in this and other districts have found delays as short as
                      28 two to three months in seeking preliminary injunctive relief sufficient to show that a
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                               603288558                                    15               Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                     LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 22 of 31 Page ID
                                                  #:1298



                           1 plaintiff is not entitled to such drastic relief. See Vital Pharm., Inc. v. PhD Mktg.,
                           2 Inc., No. 2:20-cv-06745-RSWL (JCx), 2020 WL 6545995, at *8 (C.D. Cal. Nov. 6,
                           3 2020) (two-month delay weighed against irreparable harm, preliminary injunction
                           4 denied); Li v. Home Depot USA Inc., No. 12-cv-2151-AG (RNBx), 2013 WL
                           5 12120065, at *3 (C.D. Cal. Jan. 7, 2013) (three-month delay weighed against
                           6 irreparable harm, preliminary injunction denied ); AK Metals, LLC v. Norman Indus.
                           7 Materials, Inc., No. 12-cv-2595-IEG (WVG), 2013 WL 417323, at *10 (S.D. Cal.
                           8 Jan. 31, 2013) (two-month delay weighed against irreparable harm, preliminary
                           9 injunction denied).5
                      10                  Here, Plaintiff’s delay in seeking a preliminary injunction against Le-Vel’s
                      11 THRIVE SKIN skincare name far exceeds delays previously found sufficient to
                      12 deny motions for preliminary injunction. Specifically, Le-Vel openly and
                      13 notoriously introduced its THRIVE SKIN products nearly two years before Plaintiff
                      14 filed its preliminary injunction on March 5, 2021.
                      15                  Notably, Plaintiff does not state when it first learned of Le-Vel—only that it
                      16 sent a cease-and-desist letter to Le-Vel on October 27, 2020 “[s]hortly after”
                      17 learning of Le-Vel’s THRIVE SKIN products. (Dkt. 8-1 at 8.) Given that a party’s
                      18 delay in seeking a preliminary injunction can dispositively rule out such relief,
                      19 Plaintiff’s failure to provide this crucial fact is reason enough to deny Plaintiff’s
                      20 request. It is highly unlikely that Plaintiff was unaware of Le-Vel’s THRIVE SKIN
                      21 products shortly after launch, as Le-Vel heavily and publicly promoted that a new
                      22 product would be released in April 2019. (Hoffman Decl. at ¶ 47.) In April 2019,
                      23
                         5
                           See also Playboy Enters. v. Netscape Commuc’ns Corp., 55 F. Supp. 2d 1070,
                      24 1080,  1090 (C.D. Cal. 1999) (five-month delay demonstrated lack of irreparable
                      25 harm, preliminary injunction denied); Sin Kwang, 2012 WL 13009128, at *8 (“A
                         delay in bringing an action of even a few months weighs against injunction relief”;
                      26
                         denying preliminary injunction); Kerr, 2011 WL 2269991, at *3 (“Kerr cannot
                      27 plausibly assert that it faces irreparable injury because of NAD when it
                      28 demonstrated little urgency in its seeking a preliminary injunction.”).
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                              603288558                                    16               Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                    LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                  Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 23 of 31 Page ID
                                                   #:1299



                             1 the THRIVE SKIN product was released at Le-Vel’s annual THRIVEPALOOZA
                             2 event attended by thousands of Le-Vel promoters and customers and was heavily



                                                                                            -·
                             3 advertised on Le-Vel’s social media. (Id.) Le-Vel spent over              million advertising
                             4 its April 2019 THRIVEPALOOZA event, with over                           dedicated specifically
                             5 to the launch and branding of THRIVE SKIN. (Id.) What’s more, Le-Vel sold over
                             6
                                 •      million worth of its THRIVE SKIN within 24 hours of launch. (Id. at ¶ 53.)
                             7 Since its launch, Le-Vel has sold over
                             8
                                                                          ■
                                                                                 D

                                                                              million worth of its THRIVE SKIN
                                 products. (Id.) It strains credulity for Plaintiff to claim that it took nearly a year and
                             9 half for it to learn of THRIVE SKIN, given Le-Vel’s significant promotion and the
                      10 instant success of such products. This is especially true considering Plaintiff now
                      11 claims that Le-Vel’s THRIVE SKIN products have caused and will continue to
                      12 cause it irreparable harm. See R. Joseph Licensing, 2010 WL 11595789, at *3
                      13 (finding plaintiff’s excuse that it was unaware of defendants’ allegedly infringing
                      14 mark earlier when “[d]efendants had already spent at least $5 million promoting
                      15 their [allegedly infringing] brand in a manner readily observable to anyone
                      16 interested in monitoring the extent of [d]efendants’ business activity” insufficient to
                      17 justify delay; denying preliminary injunction). Plaintiff’s belated claims of
                      18 devastating and imminent injury are little more than “tactical maneuvering,”
                      19 unworthy of credible merit. See Century Time Ltd. v. Interchron Ltd., 729 F. Supp.
                      20 366, 368 (S.D.N.Y. 1990) (denying preliminary injunction after four-month delay).
                      21                     Even assuming Plaintiff learned of Le-Vel in October 2020, it still delayed
                      22 five months before seeking a preliminary injunction, which is still sufficient to deny
                      23 Plaintiff’s motion. See Playboy, 55 F. Supp. 2d at 1080, 1090 (five-month delay);
                      24 Vital Pharm., 2020 WL 6545995, at *8 (two-month delay); Li, 2013 WL 12120065,
                      25 at *3 (three-month delay); AK Metals, 2013 WL 417323, at * 10 (two-month delay).
                      26                     To the extent Plaintiff excuses its delay because it sought to resolve the matter
                      27 without court intervention, that too fails. See Kerr, 2011 WL 2269991, at *3
                      28 (“[Plaintiff] defends its delay, insisting that it was ‘diligently’ working to resolve the
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los llng,le<. Cl\ 90067
                                       LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 24 of 31 Page ID
                                                  #:1300



                           1 matter through conversations with NAD and through its own investigations . . . .
                           2 [Plaintiff] must be prepared to deal with the consequences of its own litigation
                           3 strategies. [Plaintiff] has not convinced the Court that the extraordinary remedy of
                           4 an injunction is warranted to protect it from any irreparable harm following its long
                           5 delay in seeking an injunction.”); AK Metals, 2013 WL 417323, at *10 (“[C]ounsel
                           6 does not explain how the settlement negotiations affected any potential harm
                           7 suffered by his client. Certainly, Plaintiff would have continued to suffer the harm
                           8 that it alleges it now suffers in the weeks that the negotiations were ongoing.
                           9 Plaintiff also could not have assumed that settlement negotiations would be
                      10 successful, thereby negating the need for a TRO and preliminary injunction.”).
                      11                  Perhaps most telling is that Plaintiff has sued another entity—Thrive
                      12 Causemetics—over its use of THRIVE for skincare products and never sought a
                      13 preliminary injunction. (Smith Decl. at ¶ 22, Ex. 21.) Nor does Plaintiff even seek
                      14 any injunction stopping Thrive Causemetics from using THRIVE; rather, if Plaintiff
                      15 succeeds in that case, Thrive Causemetics would be “permitted to continue to use
                      16 the complete term THRIVE CAUSEMETICS—with CAUSEMETICS in equally-
                      17 sized and equally visible font to THRIVE—solely on color cosmetic products.”
                      18 (Id.) Plaintiff is apparently content to allow Thrive Causemetics to continue its use
                      19 of THRIVE for cosmetic products during the pendency of that case, and it cannot
                      20 now claim that Le-Vel’s use of THRIVE SKIN is so injurious as to warrant a
                      21 preliminary injunction here.
                      22                        2.    No Actual Confusion Despite Two Years of Coexistence
                      23                  Plaintiff’s sole evidence of actual confusion is a survey purportedly showing a
                      24 55.6% rate of confusion between Plaintiff’s THRIVE mark and Le-Vel’s THRIVE
                      25 SKIN mark. (Dkt. 8-1 at 17.) But, as fully detailed in the Expert Rebuttal Report of
                      26 Sarah Butler, Plaintiff’s survey was a biased matching exercise and is therefore
                      27 unreliable evidence of any alleged likelihood of confusion, particularly because
                      28 Le-Vel’s product was shown void of the real-world context in which consumers
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los llng,le<. Cl\ 90067
                                    LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 25 of 31 Page ID
                                                  #:1301



                           1 would encounter Le-Vel’s mark as tested. (Expert Report of Sarah Butler (“Butler
                           2 Rprt.”) at ¶¶ 10, 48.) As such, Plaintiff’s sole “support” of actual confusion is
                           3 fatally flawed and should be given little to no weight. Isle of Capri Casinos, Inc. v.
                           4 Flynt, No. 2:16-cv-06148-CAS (MRWx), 2016 WL 6495380, at *6-7 (C.D. Cal.
                           5 Nov. 1, 2016) (survey showing 31.5% net confusion was “entitled to little weight
                           6 because it did not replicate marketplace conditions”; denying preliminary
                           7 injunction).
                           8               Plaintiff offers no additional evidence of actual confusion outside of its
                           9 flawed survey. Given that Le-Vel’s allegedly infringing THRIVE SKIN products
                      10 have been on the market for nearly two years, Plaintiff’s failure to identify any
                      11 alleged instances of actual confusion further weighs against finding irreparable
                      12 harm. See Lindeboom v. Plaster City Digit. Post, LLC, No. 08-cv-8077-SVW
                      13 (JTLx), 2009 WL 10670660, at *8, 12 (C.D. Cal. Apr. 29, 2009) (finding lack of
                      14 actual confusion despite four years of coexistence weighed against likelihood of
                      15 confusion and denying preliminary injunction).6
                      16                         3.     Plaintiff’s Alleged Harm Is Unfounded and Speculative
                      17                   Plaintiff offers no evidence of harm as a result of Le-Vel’s use of THRIVE
                      18 SKIN, only conjecture that Le-Vel “is impairing [Plaintiff’s] control over its
                      19 reputation” and its “goodwill[] and customer base” will “suffer a significant degree”
                      20 “if a preliminary injunction is not granted.” (Dkt. 8-1 at 22-23.) But Plaintiff’s
                      21 speculative musings cannot and do not establish irreparable harm. Caribbean
                      22
                      23       6
                                 Versa Prods. Co. v. Bifold Co., 50 F.3d 189, 205 (3d Cir. 1995) (holding that “[i]f
                      24       a defendant’s product has been sold for an appreciable period of time without
                               evidence of actual confusion, one can infer that continued marketing will not lead to
                      25       consumer confusion in the future.”); Mars, Inc. v. H.P. Mayer Corp., No. 88-2252,
                      26       1988 WL 86314, at *2 (D.N.J. Aug. 17, 1988) (that “defendants have been
                               distributing [the product in question] for approximately six months without any
                      27       evidence of actual confusion occurring” weighed against a likelihood of success on
                      28       the merits; court denied preliminary injunction).
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                               603288558                                    19               Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                     LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 26 of 31 Page ID
                                                  #:1302



                           1 Marine Servs. Co. v. Baldrige, 844 F.2d 668, 674 (9th Cir. 1988) (“[s]peculative
                           2 injury does not constitute irreparable injury sufficient to warrant granting a
                           3 preliminary injunction”). See also iFreedom Direct Corp. v. McCormick, No. 16-
                           4 cv-470-JLS (KESx), 2016 WL 9049647, at *5 (C.D. Cal. June 15, 2016) (“Although
                           5 ‘evidence of loss of control over business reputation and damage to goodwill could
                           6 constitute irreparable harm,’ the moving party may not ‘rely[] on unsupported and
                           7 conclusory statements regarding harm [the party] might suffer.’”) (quoting Herb
                           8 Reed, 736 F.3d at 1250). Indeed, in the seminal Ninth Circuit case Herb Reed, the
                           9 court explicitly rejected speculative arguments about loss of control over business
                      10 reputation or damage to goodwill as simply “pronouncements . . . grounded in
                      11 platitudes rather than evidence.” 736 F.3d at 1250.
                      12                  In iFreedom Direct, the court denied the plaintiff’s motion for preliminary
                      13 injunction because it offered only “unsupported and conclusory statements
                      14 regarding harm [it] might suffer.” 2016 WL 9049647, at *5. Specifically, like
                      15 Plaintiff here, the iFreedom plaintiff “produce[d] no evidence that (1) its customers
                      16 know of or are confused by Defendants’ services or advertising, [and]
                      17 (2) [d]efendants’ alleged infringement has negatively impacted its business
                      18 reputation or goodwill.” Id. Similarly, the Ninth Circuit affirmed the denial of a
                      19 preliminary injunction because “[t]he allegations of harm in the record [were]
                      20 conclusory and speculative” where the plaintiff “simply asserted to the district court
                      21 that its goodwill and reputation would be irreparably harmed because [defendant’s]
                      22 products were being sold by a website that supposedly catered to marijuana growers,
                      23 while Sunlight had worked hard to ensure that its products were not marketed to
                      24 marijuana growers.” Titaness Light Shop, 585 F. App’x at 391.
                      25                  So too here. Plaintiff offers no evidence that Le-Vel’s use of THRIVE SKIN
                      26 is actually causing Plaintiff any harm, a hole that is particularly significant here
                      27 because Le-Vel’s THRIVE SKIN products have been on the market for nearly two
                      28 years with substantial publicity, marketing, and sales. Were there a true conflict,
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los llng,le<. Cl\ 90067
                                    LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 27 of 31 Page ID
                                                  #:1303



                           1 one would expect some harm to have already manifested. But as noted above, there
                           2 has been no evidence of actual confusion, and Plaintiff’s survey purportedly
                           3 showing confusion did not properly replicate the actual marketplace realities of
                           4 purchase and thus deserves no weight. Nor has there been any actual harm to
                           5 Plaintiff’s business or reputation. Rather, Plaintiff points solely to its own
                           6 speculation that such harm might occur based on misleading platitudes about
                           7 Le-Vel’s allegedly poor reputation and use of synthetic ingredients (as opposed to
                           8 Plaintiff’s allegedly natural ingredients). (Dkt. 8-1 at 22-23.) Without evidence that
                           9 Plaintiff has actually suffered harm to its goodwill or reputation, Plaintiff’s mere
                      10 speculation is wholly insufficient to demonstrate irreparable harm. See, e.g., Pom
                      11 Wonderful LLC v. Pur Beverages LLC, No. 13-cv-06917 MMM (CWx), 2015 WL
                      12 10433693, at *3 (C.D. Cal. Aug. 6, 2015) (“[H]arm that is ‘merely speculative’ will
                      13 not support injunctive relief.”).
                      14                  Finally, to the extent there has been any harm, it can be measured by
                      15 damages, making a preliminary injunction inappropriate. Dahl, 2010 WL 1458957,
                      16 at *11 (denying preliminary injunction because “Plaintiff [] failed to provide any
                      17 evidence of the irreparable harm he will suffer [and] any harm to his sales volume
                      18 that Plaintiff may suffer can be remedied with monetary damages in the event
                      19 Plaintiff is successful at trial”). See also Herb Reed, 736 F.3d at 1249-50
                      20 (“[Plaintiff] must ‘establish that remedies available at law, such as monetary
                      21 damages, are inadequate to compensate’ for the injury arising from [defendant’s]
                      22 continuing allegedly infringing use of the mark.”) (citation omitted). Here, Plaintiff
                      23 has not established that monetary remedies are inadequate to compensate it
                      24 ultimately succeed at trial, and Le-Vel can fully pay any monetary award should
                      25 Plaintiff succeed. (Declaration of John G. Plumpe (“Plumpe Rprt.”) at ¶¶ 8, 47-56.)
                      26                  D.    A Preliminary Injunction Will Irreparably Harm Le-Vel,
                      27                        Decidedly Tipping the Balance of Hardship in Le-Vel’s Favor
                      28                  “If granting a preliminary injunction would cause a defendant financial loss
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                              603288558                                    21               Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                    LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 28 of 31 Page ID
                                                  #:1304



                           1 and damage to business reputation which would significantly outweigh any likely
                           2 damage to plaintiff, the hardships balance in favor of defendants.” McFly Inc. v.
                           3 Universal City Studios, Inc., No. 85-cv-5440, 1985 WL 72058, at *13 (C.D. Cal.
                           4 Oct. 9, 1985) (citation omitted). For its part, Plaintiff offers little substantive
                           5 argument concerning the balance of hardships, merely reiterating that the public is
                           6 likely to be confused over Le-Vel’s use of THRIVE SKIN. (Dkt. 8-1 at 23-24.) As
                           7 explained above, Plaintiff’s claims of irreparable harm are unfounded, speculative,
                           8 and belied by its extensive delay in seeking a preliminary injunction. Moreover,
                           9 Plaintiff’s claim that it is irreparably harmed by alleged confusion “cuts both ways
                      10 [in the balance of hardship inquiry], since such confusion also inures to the
                      11 detriment of [Le-Vel] to the extent that it is determined that [Le-Vel] ha[s the]
                      12 exclusive right to use [THRIVE]” as a result of Le-Vel’s priority of use and natural
                      13 zone of product expansion. See Protech Diamond Tools, 2009 WL 1626587, at *7.
                      14                  Le-Vel, on the other hand, will suffer severe and immediate hardship if a
                      15 preliminary injunction issues. Le-Vel’s damages expert John Plumpe estimates
                      16 Le-Vel’s monetary damages, should an injunction issue, to be
                                                                                                 -
                      17 (Plumpe Rprt. at ¶¶ 8, 22-46, 56), which greatly exceed any harm alleged by
                                                                                                        million


                      18 Plaintiff. In addition to the pecuniary harm Le-Vel would suffer if forced to stop
                      19 sales of its THRIVE SKIN products, an injunction would also inflict a series of
                      20 extensive reputational harms, most of which can neither be quantified nor undone,
                      21 e.g., loss of goodwill and damage to its reputation, loss of Brand Promoters, and
                      22 delay in international expansion opportunities. (Id. at ¶¶ 38-44.) This is more than
                      23 sufficient to tip the balance of hardships sharply in Le-Vel’s favor. See GUI Corp.
                      24 v. Salazar, No. 09-cv-0920-AG (RNBx), 2009 WL 10672514, at *2 (C.D. Cal. Aug.
                      25 11, 2009) (Carter, J. for Guilford, J.) (finding balance of hardships weighed against
                      26 plaintiff seeking preliminary injunction where interim injunction would “force
                      27 [d]efendants to cancel the planned Caged Ink Tattoo Expo mere days before it is
                      28 scheduled,” which would “surely [cause] significant financial losses and injuries to
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                              603288558                                    22               Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                    LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 29 of 31 Page ID
                                                  #:1305



                           1 [defendants’] professional reputation.”); Scat Enters., Inc. v. Chrysler Grp. LLC,
                           2 No. 14-cv-7995-GHK (MANx), 2014 WL 12770296, at *6 (C.D. Cal. Nov. 3, 2014)
                           3 (balance of hardships favored defendant where plaintiff “failed to demonstrate any
                           4 concrete harm” and defendant “ha[d] already invested a substantial amount of time
                           5 and money into re-launching its Scat Pack brand and into its SEMA presentation”).
                           6               Plaintiff suggests that any harm to Le-Vel from an injunction should be
                           7 discounted because it brought the injury upon itself through its “knowing
                           8 infringement.” (Dkt 8-1 at 23-24). But as explained above, Le-Vel cannot
                           9 “knowingly infringe” Plaintiff’s alleged rights because Le-Vel, not Plaintiff, has
                      10 prior rights in the mark THRIVE as a result of Le-Vel’s natural zone of expansion.
                      11                   Plaintiff further contends that any harm to Le-Vel will be minimal because
                      12 Le-Vel’s THRIVE SKIN products are “relatively new.” (Dkt. 8-1 at 24.)
                      13 Considering the extensive monetary and reputational damages Le-Vel will suffer if
                      14 this injunction issues, Plaintiff’s unsupported claim plainly lacks merit. Regardless,
                      15 far from “relatively new,” Le-Vel’s THRIVE SKIN products have been on the
                      16 market for nearly two years and have amassed
                      17
                      18
                                           E.                                      •    million in sales.
                                                 A Preliminary Injunction Is Not in the Public’s Interest
                                           “The basic function of a preliminary injunction is to preserve the status quo
                      19 ante litem pending a determination of the action on the merits.” Oakland Tribune,
                      20 762 F.2d at 1377. “In trademark cases, the public’s interest is in the right ‘not to be
                      21 deceived or confused.’” Lindeboom, 2009 WL 10670660, at *12 (citation omitted).
                      22 Here, enjoining Le-Vel to prevent confusion serves no purpose because there has
                      23 been none (despite nearly two years for such confusion to occur). Because Plaintiff
                      24 has not demonstrated any cognizable risk of confusion—the primary public
                      25 interest—and because Le-Vel is the prior user of THRIVE based on its natural zone
                      26 of expansion, the public interest will be served, and the status quo maintained, by
                      27 denial of Plaintiff’s motion for a preliminary injunction.
                      28
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                               603288558                                    23               Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                     LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 30 of 31 Page ID
                                                  #:1306



                           1               F.    Le-Vel Is Entitled to a Bond of $1,000,000
                           2               Pursuant to Fed. R. Civ. P. 65(c), the Court may issue a preliminary
                           3 injunction “only if [Plaintiff] gives security in an amount that the court considers
                           4 proper to pay the costs and damages sustained” by Le-Vel if it is wrongfully
                           5 enjoined. Fed. R. Civ. P. 65(c). The purpose of the bond requirement is “to protect
                           6 the enjoined party’s interest in the event that future proceedings show the injunction
                           7 issued wrongfully.” Apple, Inc. v. Samsung Elecs. Co., 877 F. Supp. 2d 838, 918
                           8 (N.D. Cal. 2012) rev’d on other grounds 678 F.3d 1314 (Fed. Cir. 2012) (citation
                           9 and internal quotations omitted.) As discussed above, Le-Vel risks losing millions of
                      10 dollars in revenue if an injunction is granted and will be forced to spend significant
                      11 sums if it is forced to repackage and rebrand its THRIVE SKIN products. Plaintiff
                      12 urges this court to set a nominal bond solely because of its own financial hardship
                      13 (Dkt. 8-2 at ¶ 28), ignoring the substantial harm Le-Vel would suffer should a
                      14 preliminary injunction issue after Plaintiff’s nearly two-year delay in seeking such
                      15 relief. But “[b]ecause the amount of the bond is an upper limit on an injured party’s
                      16 redress for a wrongful injunction, . . . ‘district courts should err on the high
                      17 side.’” Apple, Inc., 877 F. Supp. 2d at 918 (quoting Mead Johnson & Co. v. Abbott
                      18 Labs., 201 F.3d 883, 888 (7th Cir. 2000)).
                      19                   Given the massive volume of sales at stake here, and because Le-Vel is fully
                      20 capable of paying any monetary damages later found to have been caused by its
                      21 alleged infringement, the Court should require a bond of $1,000,000.
                      22                   G.    The Court Lacks Personal Jurisdiction and Venue
                      23                   Plaintiff must prove that this Court has both personal jurisdiction and venue
                      24 over Le-Vel before the Court can consider the merits of its motion. Hendricks v.
                      25 Bank of America, N.A., 408 F.3d 1127, 1135 (9th Cir. 2005) (holding that where
                      26 defendant timely raised jurisdiction and venue defenses, “the district court had to
                      27 consider the defenses as a logical predicate to its preliminary injunction order”)
                      28 (internal cites and quotation marks omitted; emphasis added); Ruhrgas AG v.
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                               603288558                                    24               Case No. 2:21-CV-02022-DOC-KES
los llng,le<. Cl\ 90067
                                     LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                 Case 2:21-cv-02022-DOC-KES Document 23-1 Filed 03/22/21 Page 31 of 31 Page ID
                                                  #:1307



                           1 Marathon OilCo., 526 U.S. 574, 584 (1999) (without personal jurisdiction “the court
                           2 is powerless to proceed to an adjudication.” (internal quotation marks and ellipsis
                           3 omitted)). Le-Vel will be denied due process if the Court adjudicates the merits of
                           4 Plaintiff’s motion without first determining whether it has personal jurisdiction over
                           5 Le-Vel. Ins. Corp. of Ir. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 702
                           6 (1982) (“The requirement that a court have personal jurisdiction flows . . . from the
                           7 Due Process Clause.”)
                           8               Plaintiff served its complaint and preliminary injunction motion on March 9,
                           9 meaning Le-Vel’s motions to dismiss for lack of personal jurisdiction and improper
                      10 venue are due on March 30. (Dkt. 18; Fed. R. Civ. P. 12(a)(1)(A)(i).) Plaintiff has
                      11 refused to continue the hearing on its motion so that Le-Vel’s motions could first be
                      12 prepared, filed, and decided. Le-Vel respectfully requests that this Court first decide
                      13 Le-Vel’s forthcoming motion to dismiss (which Le-Vel will file on March 30) in
                      14 accord with Hendricks and due process.7
                      15 IV.               CONCLUSION
                      16                   “To doubt is to deny.” Pollution, 547 F. Supp. 2d at 1143. For the foregoing
                      17 reasons, Plaintiff’s motion for preliminary injunction should be denied.
                      18
                      19 DATED: March 22, 2021                          KENDALL BRILL & KELLY LLP
                      20
                                                                        By:         /s/ Alan Jay Weil
                      21                                                      Alan Jay Weil
                      22                                                      Attorney for Specially Appearing
                                                                              Defendant Le-Vel Brands, LLC
                      23
                      24       7
                                 Le-Vel has timely raised its personal jurisdiction and venue defenses at the earliest
                      25       opportunity – even before its earliest deadline for filing its Rule 12(b) motion.
                      26       Hendricks, supra, 408 F.3d at 1135 (holding no waiver of those defenses where
                               “raised in a timely manner in its first responsive pleading”). Le-Vel discussed these
                      27       issues in its Ex Parte Application for an extension of time (Dkt. 12) and will fully
                      28       brief these defenses in its Rule 12(b)(2) and (3) motions filed on March 30.
Kendall Brill
& Kelly LLP
10100 Santa Moo1ca 8tvd.
'Suite 1725
                               603288558                                    25               Case No. 2:21-CV-02022-DOC-KES
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                                     LE-VEL’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
